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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
LEVISTRAUSS & CO.,
Case No. 18-cv-06374
Plaintiff,
Judge Thomas M. Durkin
v.

Magistrate Judge Susan E. Cox
GOUHAI OFFICIAL STORE, et al.,

Defendants.

 

 

SATISFACTION OF JUDGMENT

WHEREAS, a judgment was entered in the above action on December 4, 2018 [44], in
favor of Plaintiff Levi Strauss & Co. (“LS&Co.”) and against the Defendants Identified in
Schedule A in the amount of one million dollars ($1,000,000) per Defaulting Defendant for
willful use of counterfeit LEVI’S Trademarks in connection with the offer for sale and/or sale of
products through at least the Defendant Internet Stores, and LS&Co. acknowledges payment of
an agreed upon damages amount, costs, and interest and desires to release this judgment and

hereby fully and completely satisfy the same as to the following Defendant:

 

Defendant Name Line No.

 

 

 

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THEREFORE, full and complete satisfaction of said judgment as to the above-referenced
Defendants is hereby acknowledged, and the Clerk of the Court is hereby authorized and directed

to make an entry of the full and complete satisfaction on the docket of said judgment.

 

 
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Dated this 5th day of April 2019.

  
  

Respectfully submitted,

   

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Ca
Amy C. Ziegler LY
Justin R. Gaudio
Rikaleigh C. Johnson
Greer, Burns & Crain, Ltd.
300 South Wacker Drive, Suite 2500
Chicago, Illinois 60606
312.360.0080 / 312.360.9315 (facsimile)
aziegler@gbc.law
jgaudio@gbc.law
rjohnson@gbc.law

 

Counsel for Plaintiff Levi Strauss & Co.

Subscribed and sworn to me by RiKaleigh C. Johnson, on this 5th day of April 2019.

Given under by hand and notarial seal.

 
 

CAITLIN SCHLIE
Official Seal
Notary Public — State of Illinois
My Commission Expires Nov 20, 2021

       

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Notary Public

State of Illinois
County of Cook

 
